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 4   Attorney for Defendant
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 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:09-MJ-00206-KJM
11                                Plaintiff,            STIPULATION AND ORDER:
                                                        EXCLUSION OF TIME
12          vs.
13   JIMMIE ALLISON PERRYMAN,
14                                Defendant.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, TODD LERAS, Assistant United States Attorney, attorney for plaintiff, and
18   MICHAEL E. HANSEN, attorney for defendant JIMMIE ALLISON PERRYMAN, that the
19   previously-scheduled preliminary hearing date of September 28, 2009, be vacated and the
20   matter set for preliminary hearing on October 20, 2009, at 2:00 p.m.
21           This continuance is requested to allow the parties to continue to engage in plea
22   agreement negotiations.
23           Accordingly, all counsel and the defendant agree that time under the Speedy Trial Act
24   from the date this stipulation is lodged, through October 20, 2009, should be excluded in
25   / / / / /
26   / / / / /
27   / / / / /
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 1   computing time within which trial must commence under the Speedy Trial Act, pursuant to
 2   Title 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 3
 4   Dated: September 24, 2009                         Respectfully submitted,
 5
                                                       /s/ Michael E. Hansen
 6                                                     MICHAEL E. HANSEN
                                                       Attorney for Defendant
 7                                                     JIMMIE ALLISON PERRYMAN
 8   Dated: September 24, 2009
                                                       /s/ Michael E. Hansen for
 9                                                     TODD LERAS
                                                       Assistant U.S. Attorney
10                                                     Attorney for Plaintiff
11
12                                            ORDER
13          IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
14   § 3161(H)(8)(B)(iv) and Local Code T4.
15
16   Dated: September 25, 2009                   /s/ Gregory G. Hollows
                          __________________________
17                                                 GREGORY G. HOLLOWS
                                                   United States Magistrate Judge
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